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19
                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
21
      CHASOM BROWN, WILLIAM BYATT,                   Case No.: 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO                 PLAINTIFFS’ ADMINISTRATIVE
23    individually and on behalf of all similarly    MOTION TO CONSIDER WHETHER
      situated,                                      GOOGLE’S MATERIAL SHOULD BE
24                                                   SEALED
25                  Plaintiffs,
                                                     The Honorable Susan van Keulen
26    vs.

27    GOOGLE LLC,
               Defendant.
28


                  PLAINTIFFS’ ADMIN. MOTION TO SEAL - Case No. 4:20-cv-03664-YGR-SVK
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1
            Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether
2
     Google LLC’s (“Google”) material should be sealed. The material is included within Plaintiffs’
3
     Response to the Court’s Order to Show Cause (Dkt. 784) (“Plaintiffs’ Response”).
4
      Document Sought to Be           Party Claiming      Portions to be      Basis for Sealing
5     Sealed                          Confidentiality     Filed Under Seal
      Plaintiffs’ Response.           Google              Portions            Refers to Material
6
                                                          highlighted in      Designated “Highly
7                                                         yellow              Confidential” and
                                                                              “Confidential” by
8                                                                             Google pursuant to the
                                                                              Protective Order
9
10    Exhibit 1 to the Declaration    Google              Entire document     Material Designated
      of Mark Mao.                                                            “Highly Confidential”
11                                                                            and “Confidential” by
                                                                              Google pursuant to the
12                                                                            Protective Order
13    Exhibit 2 to the Declaration    Google              Entire document     Material Designated
14    of Mark Mao.                                                            “Highly Confidential”
                                                                              and “Confidential” by
15                                                                            Google pursuant to the
                                                                              Protective Order
16
      Exhibit 3 to the Declaration    Google              Entire document     Material Designated
17
      of Mark Mao.                                                            “Highly Confidential”
18                                                                            and “Confidential” by
                                                                              Google pursuant to the
19                                                                            Protective Order
20    Exhibit 4 to the Declaration    Google              Entire document     Material Designated
      of Mark Mao.                                                            “Highly Confidential”
21
                                                                              and “Confidential” by
22                                                                            Google pursuant to the
                                                                              Protective Order
23
      Exhibit 5 to the Declaration    Google              Entire document     Material Designated
24    of Mark Mao.                                                            “Highly Confidential”
25                                                                            and “Confidential” by
                                                                              Google pursuant to the
26                                                                            Protective Order

27

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                  PLAINTIFFS’ ADMIN. MOTION TO SEAL- Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 833 Filed 01/20/23 Page 3 of 4



1     Exhibit 6 to the Declaration     Google                 Entire document   Material Designated
      of Mark Mao.                                                              “Highly Confidential”
2                                                                               and “Confidential” by
3                                                                               Google pursuant to the
                                                                                Protective Order
4
      Exhibit 7 to the Declaration     Google                 Entire document   Material Designated
5     of Mark Mao.                                                              “Highly Confidential”
                                                                                and “Confidential” by
6                                                                               Google pursuant to the
7                                                                               Protective Order

8     Declaration of Christopher       Google                 Entire document   Material Designated
      Thompson.                                                                 “Highly Confidential”
9                                                                               and “Confidential” by
                                                                                Google pursuant to the
10
                                                                                Protective Order
11
      Declaration of Jay Bhatia.       Google                 Entire document   Material Designated
12                                                                              “Highly Confidential”
                                                                                and “Confidential” by
13                                                                              Google pursuant to the
                                                                                Protective Order
14

15
            Under Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of
16
     establishing that the designated material is sealable.
17

18 Dated: January 20, 2023                         BOIES SCHILLER FLEXNER LLP

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                   PLAINTIFFS’ ADMIN. MOTION TO SEAL- Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 833 Filed 01/20/23 Page 4 of 4



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               PLAINTIFFS’ ADMIN. MOTION TO SEAL- Case No. 4:20-cv-03664-YGR-SVK
